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                  UNITED STATES DISTRICT COURT
                      DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                   21 - CR - 399 (RDM)
             Plaintiff,

                v.

ROMAN STERLINGOV,

            Defendant.




  Defendant Roman Sterlingov's Memorandum of Law in Support of His
                   Motion for a Bill of Particulars
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                                          Introduction

       Defendant Roman Sterlingov, through his undersigned counsel, submits this

Memorandum of Law in support of his Motion for a Bill of Particulars.

       This is a criminal prosecution under 18 U.S.C. § 1956(h) (“§ 1956 (h)”) (money

laundering conspiracy), 18 U.S.C. § 1956(a)(3)(A), (B) (money laundering), 18 U.S.C. § 1960(a)

(operating an unlicensed money transmitting business), and D.C. Code § 26-1023(c) (a money

transmission without a license.)

       To address this and the Indictment's other defects in the forthcoming Motion to Dismiss,

the Fifth and Sixth Amendments require that the Government provides the necessary information

for Mr. Sterlingov to mount a defense. This Motion asks that the Government state the

particulars of its criminal prosecution of a conspiracy to commit money laundering, money

laundering, unlicensed money transmitting business, and a money transmission without a license;

plain, concise, and definite, as our Constitution requires.

       This Court should grant Mr. Sterlingov's Motion for a Bill of Particulars because the

Indictment:


           1. violates the Fifth, and Sixth Amendments to the United States Constitution by not

               providing a plain, concise, definite statement identifying the elements of the crime

               charged and their supporting factual predicates necessary for Mr. Sterlingov to

               mount a defense,

           2. invites trial by surprise, and,

           3. invites future double jeopardy.
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                                              Background
            On April 26, 2021, Mr. Sterlingov arrived at Los Angeles International Airport, where

the Government arrested him on a Criminal Complaint alleging money laundering, operating an

unlicensed money transmitting business, and money transmission without a license in the District

of Columbia.

            On June 14, 2021, a grand jury indicted Mr. Sterlingov on three counts:

                1. Money Laundering, in violation of 18 U.S.C. § 1956(a)(3)(A), (B)

                2. Operating an Unlicensed Money Transmitting Business, in violation of 18 U.S.C.

                     § 1960(a)

                3. Money Transmission Without a License, in violation of D.C. Code § 26-1023(c).1

            On July 18, 2022, the Government filed a four-count Superseding Indictment (the

"Indictment"). It charges:

                1. Money Laundering Conspiracy, in violation of 18 U.S.C. § 1956(h) (“Count One”)

                2. Money Laundering, in violation of 18 U.S.C. § 1956(a)(3)(A) and (B) (“Count

                     Two”)

                3. Operating an Unlicensed Money Transmitting Business, in violation of 18 U.S.C.

                     § 1960(a) (“Count Three”), and,

                4.
                     Money Transmission Without a License, in violation of D.C. Code § 26-1023(c)

                     (“Count Four”).




1
    (Dkt. 8, ¶¶ 1, 2, and 3).


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                                                   Argument
         The Indictment lacks particularity and thus violates the Fifth Amendment's Due Process

and Indictment clauses and the Sixth Amendment's guarantee that "[i]n all criminal prosecutions,

the accused shall enjoy the right . . . to be informed of the nature and cause of the accusation. . .2

The failure to provide any factual predicates as to the online activities being prosecuted in this

case further prejudices Mr. Sterlingov in relation to raising a defense.3 The Constitution requires

that a felony indictment provides notice to the defendant of the information necessary to prepare

a defense.4 This is especially true of a broad, bare-bones conspiracy accusation like the one in

this Indictment. An indictment must be a “plain, concise, and definite written statement of the

essential facts constituting the offense charged.”5 An indictment is insufficient if:

             1. "the charges of the indictment are so general that they do not advise the defendant

                  of the specific acts of which he is accused;”6

             2. it doesn't state the elements of the crime;7

             3. it doesn’t supply the information necessary to prepare a defense and avoid surprise

                  at trial;8 or,



2
  U.S. Const. Amend. V, VI
3
  United States v. Automated Med. Labs., Inc., 770 F.2d 399, 405 (4th Cir. 1985); see United States v. Dulin, 410
F.2d 363 (4th Cir. 1969) (The purpose of a bill of particulars is to inform a defendant of the charges so that he may
adequately prepare a defense, avoid or minimize surprise at trial, and plead in bar of another prosecution for the
same offence.)
4
  Cochran and Sayre v. United States, 157 U.S. 286, 290 (1895); Rosen v. United States, 161 U.S. 29, 34 (1896);
Hagner v. United States, 285 U.S. 427, 431 (1932); United States v. Debrow, 346 U.S. 374, 376, 74 S. Ct. 113, 115
(1953) (The true test of the sufficiency of an indictment is whether it contains the elements of the offense intended
to be charged, and sufficiently apprises the defendant of what he must be prepared to meet).
5
  Fed. R. Crim. P. 7(c)(1).
6
  United States v. Ziccardi, No. 3:14cr107, 2014 U.S. Dist. LEXIS 152007, at *2 (E.D. Va. Oct. 27, 2014) (A bill of
particulars should be required only where the charges of the indictment are so general they do not advise the
defendant of the specific acts of which he is accused.) See also U.S. v. Torres, 901 F.2d 205, 234 (2d Cir. 1990).
7
  See id.
8
  See id.


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             4. fails to bar future double jeopardy.9

        Courts regularly grant Bills of Particulars in cases where the indictment alleges criminal

activity that spans a significant period of time and involves voluminous discovery, multiple

actors, and complex transactions.10 In deciding whether to order a bill of particulars, "the court

must balance the defendant's need to know evidentiary-type facts in order to adequately prepare a

defense with the government's need to avoid prematurely disclosing evidentiary matters to the

extent that it will be unduly confined in presenting its evidence at trial."11

I.      The Court Should Order a Bill of Particulars for Count One

        The Government's eleventh-hour addition of a conspiracy charge lacks all particularity.

The Government alleges the conspiracy began in 2011, well outside the five-year statute of

limitations, and is alleged, without any factual support, to have continued until 2021. Besides the

usual vague, superstitious innuendo about interactions with the "darknet", Count One lacks any

specificity, even after an extensive, expensive, six-year investigation.

        Count One charges conspiracy to money laundering under 18 U.S.C. § 1956(h). The

scope of the conspiracy is not defined, and besides rote recitation of the statute, no particular

agreement is referenced, nor are any co-conspirators named. No particular conspiratorial acts are

mentioned.

        We are left guessing as to what financial transactions constitute "specified unlawful

activity" involving a "controlled substance" that Defendant intended "to promote" or

"knowingly" conceal, as generically stated in the Indictment.12 There are no eyewitnesses to

anything in this case; it is all the speculative product of people at desks thousands of miles away


9
  See id.
10
   United States v. Sutton, 2022 U.S. Dist. LEXIS 73553, *5 (D.D.C. 2022).
11
   United States v. Concord Mgmt. & Consulting LLC, 385 F. Supp. 3d 69, 74 (D.D.C. 2019).
12
   (Indictment ¶¶ 1a-b, Dkt. No. 43).


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from Sweden where the Defendant resides. The Government creates the illusion of scientific

precision with its purported "blockchain analysis" and pseudo-scientific "clusters" yet fails to

state its case precisely in the Indictment despite ample time.

       To date, the Government has not identified a single criminal transaction tied to Mr.

Sterlingov; every allegation is speculative innuendo. We are asked to trust the Government's

guesses as it peels back layers, never a direct connection, finally arriving at Mr. Sterlingov

through a convoluted process laden with speculative junk science, typos in BTC wallet

addresses, misrepresentations, and inexplicable errors that a quick check of the public blockchain

record reveals.

       Nothing in the discovery produced by the Government to date changes this. The over

three terabyte volume of Government discovery is no indication of its substance. If Mr.

Sterlingov is to defend himself in this complex guessing game of a case involving networked

computers, cryptography and decentralized data ledgers that are a radical, unprecedented change

in the history of information technology; the Constitution requires particularity of the Indictment,

so that Mr. Sterlingov knows what to look for to defend himself against the Government's

Kafkaesque prosecution. If the Government has a case, it should state it clearly and plainly,

instead of engaging in evasive pleading in a run around of the statute of limitations.

       The Court should order the Government to produce a Bill of Particulars providing:

           1. The scope of conspiracy;

           2. The names of the conspirators;

           3. The precise nature of the conspiratorial agreement;

           4. The date of the conspiratorial agreement;




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 5. The illegal object of the conspiracy;

 6. The particular factual predicates for the intent to conceal or disguise the nature,

    location, source, ownership, or control of property that Mr. Sterlingov believed to

    be the proceeds of specified unlawful activity;

 7. The particular factual predicates for the intent to promote the carrying on of

    specified unlawful activity;

 8. The particular factual predicates for the intent to avoid a transaction reporting

    requirement under state or federal law;

 9. The particular factual predicates for the alleged proceeds of specified unlawful

    activity;

 10. The particular factual predicates for the alleged property that was represented to

    be the proceeds of, or used to conduct, specified unlawful activity;

 11. The particular factual predicates underlying the date, time, place, and manner of

    the alleged conspiracy;

 12. The particular factual predicates that indicate Mr. Sterlingov had knowledge that

    Bitcoin Fog was an unlicensed money transmitting business in the United States;

 13. Identify all unindicted co-conspirators known to the Government;

 14. Identify the particular conspirator and conspirators who completed each

    conspiratorial act alleged in the Indictment;

 15. Identify persons other than co-conspirators, including victims, referenced in the

    Indictment.



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II.      The Court Should Order a Bill of Particulars for Count Two

         Count Two, charging money laundering under 18 U.S.C. §§ 1956(a)(3)(A), (B) requires

the Government to prove beyond a reasonable doubt that Mr. Sterlingov believed some

unspecified property to be the proceeds of a specified unlawful activity that has not been

specified under § 1956(a)(3)(B).13 The statute further requires "intent to promote the carrying on

of specified unlawful activity" or an intent "to conceal or disguise the nature, the location, the

source, the ownership, or the control of the proceeds of specified unlawful activity."14

         The Government's unilateral internet theater of withdrawing BTC from its account at

foggedddriztrcar2.onion provides no particularity, just obscurity. 18 U.S.C. § 1956(a)(1) requires

any financial transaction coming under it to "in fact involve the proceeds of specified unlawful

activity."15 There is no allegation in Count Two that the proceeds in question are the ill-gotten

gains of a crime. Nor does the Government explain the factual difference between what it states

in its Criminal Complaint - that in November 2019, it was the sole actor sending and accessing

BTC at its foggedddriztrcar2.onion account16 - and the Indictment's coy implication that Mr.

Sterlingov "moved" " BTC by wire or other means" to an undefined "BITCOIN FOG" wallet

"controlled" by the IRS.17

         The Court should order the Government to produce a Bill of Particulars for Count Two,

providing:

             1. The specific "specified unlawful activity" (or activities);



13
    United States v. Bolden, 325 F.3d 471, 486 (4th Cir. 2003) (In order to contravene § 1956(a)(1), a defendant must
know that the property involved in a "financial transaction" represents the "proceeds" of some "specified unlawful
activity.")
14
   18 USC 1956(a)(3)(A), (B).
15
   18 USC 1956(a)(1)
16
   (Criminal Compl., Statement of Facts p. 6. Dkt. No. 1-1).
17
   (Indictment., p. 3. Dkt. No. 43).


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  2. The particular "property" (or properties) involved in a financial transaction . . .of

     unlawful activity;

  3. The particular financial transaction involving the alleged unlawful activity;

  4. The "unlawful activity";

  5. The particular factual predicates supporting the conclusory allegation under 18

     U.S.C. § 1956(b) for Mr. Sterlingov's knowledge of the "design," either in whole

     or part, of the financial transactions related to numbers 1-4 directly above;

  6. The particular factual predicates supporting the Indictment's rote allegations of an

     intent to conceal or disguise the nature, location, source, ownership, or control of

     property that Mr. Sterlingov believed to be the proceeds of the unspecified

     specified unlawful activity;

  7. The particular factual predicates for the intent to promote the carrying on of

     specified unlawful activity;

  8. The particular factual predicates for the intent to avoid a transaction reporting

     requirement under state or federal law;

  9. The particular factual predicates for the alleged proceeds of specified unlawful

     activity;

  10. The particular factual predicates for the alleged property that was represented to

     be the proceeds of, or used to conduct, specified unlawful activity; andm

  11. The particular factual predicates for underlying the date, time, place, and manner

     of the alleged conspiracy.




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III.   The Court Should Order a Bill of Particulars for Count Three

       Without referencing a single particular transaction and only a general date range starting

outside the statute of limitations, the Government alleges that for almost a decade, Mr.

Sterlingov operated a money transmissions business in Washington D.C, and aided and abetted,

in violation of 18 U.S.C. §§ 1960(a) and (b)(2). Given that nothing in the discovery produced to

date supports this conclusory allegation, this Court should order the Government to produce a

Bill of Particulars providing the factual predicates for this count, particularly describing what

Mr. Sterlingov is alleged to have done that constitutes running a money transmission business.

       Furthermore, this Court should order the government to produce a Bill of Particulars

providing the factual predicates to support any count under 18 U.S.C. §§1960 (b)(2).

       Concerningly, the defense cannot determine under what statute the Government is

attempting to prosecute Mr. Sterlingov for aiding and abetting. This Court should order the

Government to produce a Bill of Particulars providing the statutes under which it is prosecuting

Mr. Sterlingov for aiding and abetting, as well as the factual predicates for these charges.

IV.    The Court Should Order a Bill of Particulars for Count Four

       Without referencing a single transaction and only a general date range starting outside the

statute of limitations, the Government alleges that for almost a decade, Mr. Sterlingov operated a

money transmissions business in Washington D.C, in violation of D.C. Code §26-1023(c). Given

that nothing in the discovery produced to date supports this conclusory allegation, this Court

should order the Government to produce a Bill of Particulars providing the factual predicates to

support this count.




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V.       The Court Should Order a Bill of Particulars on Venue

         Article III and the Sixth Amendment of the United States Constitution require all

criminal trials to be in the state and district where the crime occurred.18 Nothing in the

Indictment and its predecessors, nor the discovery produced to date, justifies venue in this

District. The only apparent connection with the District Columbia is the unilateral interaction of

an IRS Agent on November 19, 2019, who allegedly sent a message to "the BITCOIN FOG

administrator using the messaging function on the BITCOIN FOG site, stating the funds [he

wanted to tumble] were the proceeds of illegal narcotics sales."19

         On November 18, 2019, the Agent had sent a small amount of BTC to the alleged Bitcoin

Fog onion site at foggeddriztrcar2.onion, none of which is alleged to be the proceeds of any

crime and that came from a publicly identifiable government-controlled wallet.20 On November

21, 2019, after receiving no response to his message, the Agent sent BTC by accessing

foggeddriztrcar2.onion and directing it to send BTC from the Government's wallet. There is

nothing obviously illegal about this transaction. No humans besides the Agent are alleged to

have participated in it, no one is alleged to have seen the Agent’s message, and tumbling BTC in

and of itself is not illegal.21 Chainalysis, one of the Government's for-profit forensic investigators

on this case, has BTC tumbling clients, and the defense is left scratching its head as to what it is




18
   See U.S. Const. Art. III § 2; see also U.S. Const. amend. VI.
19
   (Criminal Compl., Statement of Facts p. 6. Dkt. No. 1-1).
20
   (Criminal Compl., Statement of Facts p. 6. Dkt. No. 1-1).
21
    See United States v. Harmon, 514 F. Supp. 3d 47, 50 (D.D.C. 2020) (holding that this business model (crypto
tumbling) qualifies as money transmission; see also FIN-2019-G001 “Application of FinCEN’s Regulations to
Certain Business Models Involving Convertible Virtual Currencies,” May 9, 2019 (2019 VC Guidance); see also
Taylor Locke, Criminals are using ‘mizers’ to launder millions in crypto. They’re not illegal yet”, Fortune
Magazine, March 26, 2022 available at https://fortune.com/2022/03/26/what-are-crypto-mixers/ (quoting Kim
Grauer, Director of Research at Chainalysis “[cryptocurrency mixing services] are not inherently illegal – they can
be used for legitimate privacy purposes.”)




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supposed to be defending itself against here when nothing is in the Indictment, its predecessors,

or the discovery indicate that Mr. Sterlingov ever had any contact with the District of Columbia

or anything to do with this transaction. The Court should order a Bill of Particulars on the

question of Venue so that Mr. Sterlingov can mount a complete defense, avoid surprise at trial,

and so the Indictment can serve as a future bar to double jeopardy.

                                           Conclusion

       This Court should order the Government to produce a sworn Bill of Particulars for all the

Indictment's counts to correct the constitutional deficiencies in its Indictment.




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Dated: New York, New York               Respectfully submitted,
August 1, 2022
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of August 2022, the forgoing document was filed with

the Clerk of Court using the CM/ECF System. I also certify that a true and correct copy of the

foregoing was sent to the following individuals via e-mail and mail delivery via first class mail.

                                                                            s/ Tor Ekeland



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